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IN THE UNITED DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

SPARTAN SECURITIES GROUP, LTD.;
CARL DILLEY; SCOTT REYNOLDS;
VICTOR SILVA; A. RICHARD McCANN,
ISLAND CAPITAL MANAGEMENT, LLC; and
THE BLACK DIAMOND FUND, LLLP,

Plaintiffs,
CIVIL ACTION FILE NO.

VS.

 

CACTRUS DRINK SYSTEMS, INC.; and

CAM COTE,
(Jury Trial Demanded)

Defendants.

 

COMPLAINT

Plaintiffs Spartan Securities Group, Ltd., Carl Dilley, Scott Reynolds, Victor
Silva, A. Richard McCann, Island Capital Management, LLC, and The Black Diamond
Fund, LLLP n/k/a Adamas, Inc. (collectively “Plaintiffs” or "Investor-Plaintiffs”), by and
through the undersigned counsel, file the following complaint for damages against
Defendants Cactrus Drink Systems, Inc. and Cam Cote and allege as folloWS:

PARTIES

l. 'Plaintiff Spartan Securities Group, Ltd. (“Spartan”) is a Florida limited
partnership With its principal place of business at 100 Second Avenue South, Suite 300N,
St. Petersburg, Florida 33701.

2. Plaintiff Carl Dilley is an individual resident of the State of Florida,

residing at 643 Addison Drive, NE, St. Petersburg, Florida, 33716.

 

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3. Plaintiff Scott Reynolds is an individual resident of the State of Florida,
residing at 544 Pinellas Bay Way S#202, Tierra Verde, Florida 33715.

4. Plaintiff Victor Silva is an individual resident of the State of Georgia,
residing at 5755 Haterleigh Drive, Alpharetta, Georgia 30005.

5. Plaintiff A. Richard McCann is an individual resident of the State of North
Carolina, residing at 116 Holcombe Cove Rd., Candler, North Carolina 28715.

6. Plaintiff The Black Diamond Fund, LLLP n/k/a Adamas Fund, LLLP is a
limited partnership organized under the laws of the State of Minnesota.

7. Plaintiff Island Capital Management, LLC (“Island”) is a limited liability
company organized under the laws of the State of Florida, with its principal place of
business at 100 Second Avenue S., Suite 300N, St. Petersburg, Florida 33701.

8. Defendant Cactrus Drink Systems, Inc. (“Cactrus”) is a corporation
organized under the laws of the State of Nevada, with its principal place of business
located in Alberta, Canada at #2, 104 Railway Street, Cochrane, AB Canada T4C2B5.
Cactrus may be served with process through its registered agent, Registered Agent
Solutions, Inc., located at 4635 West Nevso Drive, Suite 2, Las Vegas, Nevada 89103.

9. Defendant Cam Cote (“Cote”) is an individual residing in Alberta,
Canada, who may be served with process at #2, 104 Railway Street, Cochrane, Alberta,
Canada T4C2B5. At all times relevant hereto, Cote was the President, Chief Executive

Officer, and Sole-Director of Cactrus.

 

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JURISDICTION & VENUE

10. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, as
certain of Plaintiffs' claims arise under the federal securities law of the United States.

11. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332
and § 1367, as there is complete diversity of citizenship between the parties, and the
amount in controversy between Plaintiffs and Defendants exceeds $75,000, exclusive of
interest and costs.

12. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because
the Defendants have conducted business in this Judicial District, and a substantial part of
the events or omissions giving rise to Plaintiffs' claims, including the dissemination of
false and misleading information, occurred in this Judicial District.

13. In connection with the acts, conduct, and other wrongs alleged herein,
Defendants Cactrus and Cote, directly or indirectly, used the means and instrumentalities
of interstate commerce, including but not limited to, the United States mail, interstate
telephone communications and the facilities of the national securities markets.

GENERAL ALLEGATIONS COMMON TO ALL COUNTS

14. Spartan is a privately-held full service investment banking firm Which
offers a variety of financial and other advisory services including capital fonnation,
corporate finance, institutional sales and trading, and wealth management

15. Spartan acts as a broker-dealer and is registered as such With FINRA (. . .)

and the United States Securities Exchange Commission (“SEC”).

 

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16. Defendant Cactrus is a company that produces a product called the
Cactrus Water Plus beverage dispenser. The Cactrus Water Plus beverage dispenser is a
water cooler system that simultaneously dispenses ice-cold juices and/or water. Cactrus
is the entity responsible for the development, marketing, sale and promotion of the
Cactrus Water Plus beverage dispenser, Which is sold in Wal-Mart stores across the
United States.

17. Cactrus has also developed a product called 4 Gallon one-way bottled
water, which it began producing in the State of Florida in approximately February 2007.

The Fraudulent Scheme

18. In August 2006, prior to the production of one-way bottled water, Cactrus
and Spartan entered into a financial advisory and investment banking agreement,
whereby Spartan agreed to provide Cactrus with financial advice and/or assistance in
exchange for compensation

19. Under the terms of the financial advisory and investment banking
agreement, Cactrus granted Spartan, among other things, the right of first refusal to act as
the Placement Agent for any private offering of Cactrus’ securities

20. Between August 2006 and April 2007, Cactrus decided to make a
securities offering in an effort to raise additional working capital for its business
operations

21. On or about April 30, 2007, Cactrus and Spartan entered into a Letter of
Intent, pursuant to which Spartan agreed to act as the Placement Agent for the offering of

convertible debenture common stock for Cactrus. The Letter of lntent also stated certain

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securities through Spartan in accordance with the parties’ Letter of Intent. The PPM is
attached hereto as Exhibit A.

23. The PPM stated that the proceeds of the offering would be used for legal
and accounting fees, interest payments, general corporate purposes, and working capital.

24. Under the terms of the PPM, Cactrus made the following offering (the
“Offeiing”):

We are offering to qualified accredited investors up to 1,500 Units (each a

“Unit” and collectively the “Units”), with each Unit consisting of One (1)

$1,000 Principal Amount 10% convertible Debenture due four years from

its issuance date (each a “Debenture” and collectively the “Debentures”)

and One (1) warrant to purchase 1,200 shares of common stock (each a

“Warrant” and collectively the “Warrants”). The subscription price per

Unit is $1,000 and the minimum purchase is Ten (10) Units ($10,000).

(PPM, p. 5).

25. According to the PPM, the Units were being offered on a “best efforts”
basis until a maximum of 1,500 Units were sold. The PPM also stated that the securities
being offered were exempt from registration under the Securities Act of 1933 and
applicable state laws.

26. The PPM further indicated that the offering was only being made to
investors who qualified as “Accredited Investors” and who met certain Suitability
standards as stated under the terms of the PPM.

27. As the Placement Agent for the Cactrus offering, Spartan was responsible

for identifying potential qualified investors to participate in the offering

28. Between July 2007 and February 2008, Investor-Plaintiffs all elected to

invest in the Offering.

 

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29. Spartan provided each of the Investor-Plaintiffs with a copy of the PPM,
as Cactrus intended.

30. Between August 2007 and February 2008, the Investor-Plaintiffs agreed to
the terms of the offering, with each respective Investor-Plaintiff entering into a
Subscription Agreement for the purchase of a certain number of Units, in accordance
with the PPM. The Subscription Agreements are attached hereto as Exhibit B.

31. By presenting the PPM and Subscription Agreements to investors and by
accepting investor funds, Cactrus explicitly and implicitly agreed to the terms of the PPM
and Subscription Agreements.

32. The Subscription Agreements that were signed by the Investor-Plaintiffs
expressly stated:

SUBSCRIPTION: The undersigned (“the Subscriber”) hereby irrevocable

offers to purchase [a certain number of_| units (“the Units”) of Cactrus

Drink Systems, Inc., a Nevada corporation (the “Company”), for $1,000

per Unit, of a total purchase price. . .when and if accepted by the Company,

will constitute the payment by the Subscriber of the purchase price for the

Units. Each Unit consists of one (1) $1,000 Principal Amount 10%

Convertible Debenture due four years from its issuance date and one (1)

warrant to purchase 1,200 shares of common stock.

(See Exhibit B, p. 1).

33. Pursuant to the terms of the Subscription Agreements, each Investor-
Plaintiff wrote a check for the amount of his or its investment, which was equal to the
number of Units each investor desired to purchase, at a cost of $1,000.00 per Unit. The
checks were made payable to and deposited into an account with the Libertad Bank, 512
East Riverside Drive, Ste. 100, Austin, Texas, 78704 for the benefit of Cactrus Drink

Systems, Inc. (the “Escrow Account”).

 

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34. Once Cactrus received a properly executed Subscription Agreement and a
check for the securities purchased from a prospective investor, Cactrus had thirty (30)
days which to determine whether to accept or reject the prospective investment

35. Cactrus had the option to reject a prospective investor; however, if Cactrus
chose to reject a prospective investor, it had to return all of the funds received from that
investor promptly.

36. If Cactrus accepted the investment, then, according to both the
Subscription Procedures and the PPM, Cactrus was required to deliver to the investor the
Convertible Debentures and Warrants within thirty (3 0) days of such acceptance

37. Collectively, the Investor-Plaintiffs invested $520,000 in the Offering,
with each Investor-Plaintiff signing a Subscription Agreement and writing a check for his
or its respective investment.

38. Cactrus did not reject any of the Investor-Plaintiffs’ investments

39. To the contrary, on several occasions between August 2007 and February
2008, Cactrus directed Libertad Bank to wire the Investor-Plaintiffs’ funds to Cactrus in
order to make use of the Investor-Plaintiffs’ funds.

40. Although Cactrus directed certain of Investor-Plaintiffs’ funds to be
released, Cactrus never delivered to any of the investors the Convertible Debentures and
Warrants within the timeframe set forth under the PPM and the Subscription Agreements.

41. Defendants repeatedly made oral representations and provided assurances

to Investor-Plaintiffs that the Convertible Debentures and Warrants would soon be issued.

 

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42. The last disbursement of funds from the Escrow Account was made
February 5, 2008. Accordingly, the latest date that the Convertible Debentures and
Warrants were due to the Plaintiff-Investors was March 5, 2008.

43. To date, Cactrus has refused to issue the required Convertible Debentures
and Warrants or otherwise honor the terms of the PPM and the Subscription Agreements.

44. Additionally, upon information and belief, Cactrus has not used the
proceeds from the Offering for any business-related purpose as required by the terms of
the PPM. Instead, Cote has wrongfully used the proceeds from the Offering for his own
personal benefit, including, without limitation, to purchase luxury vacations and an
automobile

45. Since April 2008, the Investor-Plaintiffs have made repeated demands to
Defendants either to deliver the Convertible Debentures and Warrants that are rightfully
owed to them or to reii.lnd their investments in full.

46. To date, Defendants have refused to deliver the Convertible Debentures
and Warrants or refund to the lnvestor-Plaintiffs’ demands

47. As such, the Investor-Plaintiffs have sustained and continue to sustain
significant losses.

48. In committing or causing the acts alleged herein, Defendants employed a
scheme to defraud; made untrue statements of material facts; engaged in acts, practices
and courses of business which operated as a fraud or deceit, all in connection with the

purchase and sale of securities. Defendants have breached their contracts and fiduciary

 

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duties, misappropriated funds, violated Florida Securities Statutes, and have been

unjustly enriched as a result.
COUNT I - VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1933

49. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs l through 48 as though fully set forth herein.

50. Defendants Cactrus and Cote, directly and indirectly, by use of the means
or instruments of transportation or communications in interstate commerce and by use of
the U.S. mail, electronic mail, and the intemet, in the offer or sale of securities as
described in this Complaint, knowingly, willfully and/or recklessly employed devices,
schemes, or artifices to defraud.

51. Defendants Cactrus and Cote offered and sold the Units of Cactrus in
violation of Section 12 of the Securities Exchange Act, 15 U.S.C. 77(1), and are liable to
each of the Investor-Plaintiffs for the consideration paid, prejudgment interest, and
reasonable costs associated with the action and all further just and proper relief.

COUNT II - VIOLATION OF SECURITIES EXCHANGE ACT OF 1934

52. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs l through 51 as though fully set forth herein.

53. Defendants Cactrus and Cote, directly and indirectly, by use of the means
or instruments of transportation or communications in interstate commerce and by use of
the U.S. mail, electronic mail, and the internet, in the offer or sale of securities as
described in this Complaint, knowingly, willfully and/or recklessly employed devices,

schemes, or artifices to defraud.

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54. By reason of the foregoing, Defendants have violated Section 17(a)(1) of
the Securities Exchange Act, 15 U.S.C. 77q(a)(1) and are liable to each of the Investor-
Plaintiffs for the consideration paid, prejudgment interest, and reasonable costs associated
with the action and all further just and proper relief.

COUNT III - VIOLATION OF SECURITIES EXCHANGE ACT OF 1934

55. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 54 as though fully set forth herein.

56. Defendants Cactrus and Cote, directly and indirectly, by use of the means
or instruments of transportation or communications in interstate commerce and by use of
the U.S. mail, electronic mail, and the internet, in the offer or sale of securities as
described in this Complaint: (a) obtained money or property by means of untrue
statements of material facts and omissions to state material facts necessary to make the
statements made, in light of the circumstances under which they Were made, not
misleading; and/or (b) engaged in transactions, practices, and courses of business which
are now operating and will operate as a fraud or deceit upon purchasers and prospective
purchasers of such securities.

57. By reason of the foregoing, Defendants have violated Section 17(a)(2) and
(3) of the Securities Exchange Act, 15 U.S.C. 77q(a)(2) and (3), and are liable to each of
the Investor-Plaintiffs for the consideration paid, prejudgment interest, and reasonable

costs associated with the action and all further just and proper relief.

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COUNT IV - VIOLATION OF SECTION lO(B) AND RULE IO(B)-S

58. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 57 as though fully set forth herein.

59. Defendants Cactrus and Cote, directly and indirectly, by use of the means
or instruments of transportation or communications in interstate commerce and by use of
the U.S. mail, electronic mail, and the internet, in the offer or sale of securities, as
described in this Complaint, knowingly, willfully, and/or recklessly: (a) employed
devices, schemes, or artifices to defraud; (b) obtained money or property by means of
untrue statements of material facts and omissions to state material facts necessary to
make the statements made, in light of the circumstances under which they were made, not
misleading; and/or (c) engaged in transactions, practices, and courses of business which
are now operating and will operate as a fraud or deceit upon purchasers and prospective
purchasers of such securities.

60. By reason of the foregoing, Defendants have violated Section 10(b) of the
Securities Exchange Act and Rule 10b-5 promulgated thereunder, and are liable to each
of the Investor-Plaintiffs for damages resulting therefrom.

COUNT V - VIOLATION OF SECURITIES EXCHANGE ACT OF 1934

61. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs l through 60 as though fully set forth herein.

62. Defendants made various false representations, wrongful omissions and
concealed material facts relating to the Offering, including, without limitation, that

Cactrus would issue Convertible Debentures and Warrants in exchange for the Plaintiffs’

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investments in Cactrus and that the proceeds from the offering would be used to enhance
Cactrus’ business operations

63. Defendants made such false representations and wrongful omissions with
the knowledge and intent that such representations were false, material, and wrongful at
the time that they were made.

64. Defendants concealed and suppressed the falsity, materiality, and
wrongfulness from the Investor-Plaintiffs, with the intent to defraud, deceive, and injure
the Investor-Plaintiffs.

65. Upon information and belief, Defendant Cote acted as a controlling person
within the meaning of Section 20(a) of the Securities Exchange Act.

66. By reason of his respective positions as an owner, officer and/or director
of Cactrus, Cote, either directly or indirectly, had power and authority to control and did
control, in bad faith, the making of each of the false representations, wrongful omissions,

and concealments.

67. As a direct and proximate result of Cote’s conduct, the Investor-Plaintiffs
have been damaged in an amount not less than $520,000, to be more specifically proven

at trial.

68. By reason of the foregoing, Defendant Cote has violated Section 20(a) of
the Securities Exchange Act, and is liable to each of the Investor-Plaintiffs for damages

resulting therefrom.

COUNT VI - BREACH OF CONTRACT

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69. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 68 as though fully set forth herein.

70. Defendant Cactrus contracted with lnvestor-Plaintiffs to provide
Convertible Debentures and Warrants in exchange for the Plaintiffs’ investments in the
Offering, pursuant to the terms of the PPM and Subscription Agreements.

71. The Investor-Plaintiffs have performed all of the conditions, covenants,
obligations, and promises required under the terms of the PPM and their respective
Subscription Agreements.

72. Cactrus has inexcusably failed to perform and has breached its contractual
duties to Investor-Plaintiffs by, among other things, failing to fulfill its obligations under
the PPM and Subscription Agreements, failing to deliver the Convertible Debentures and
Warrants pursuant to the terms of the PPM and Subscription Agreements; failing to
return Plaintiffs’ investments, when Plaintiffs’ requested their retum; and breaching the
duty of good faith and fair dealing implied in the PPM and the Subscription Agreements.

73. As a direct and proximate result of Cactrus’s actions in breaching the PPM
and the Subscription Agreements, the Investor-Plaintiffs have been damaged in an
amount not less than $520,000, to be more specifically proven at trial.

COUNT VII - FRAUD

74. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 73 as though fully set forth herein.

75. By means of a defective and misleading PPM, Defendants Cactrus and

Cote offered and sold shares of Cactrus to the Investor-Plaintiffs.

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76. The PPM contained various untrue statements of material fact, wrongful
omissions, and concealed and failed to disclose other material facts relating to the
Offering, including, without limitation, that Cactrus would issue Convertible Debentures
and Warrants in exchange for the Plaintiffs’ investments in Cactrus and that the proceeds
from the Offering would be used exclusively to enhance Cactrus’ business operations

77. Defendants made such false representations and wrongful omissions with
the knowledge and intent that such representations were false, material, and wrongful at
the time that they were made,

78. Defendants concealed and suppressed the falsity, materiality, and
wrongfulness from the Investor-Plaintiffs, with the intent to defraud, deceive, and injure
the Investor-Plaintiffs.

79. At the time that Defendants made such false representations, wrongful
omissions and concealments, the Investor-Plaintiffs were unaware of their falsity,
materiality, and wrongfulness

80. The Investor-Plaintiffs believed the representations of the Defendants to
be true and justifiably relied on these representations and omissions in accepting the
Offering and signing the Subscription Agreements and in depositing, wiring, and/or
entrusting their monies to Cactrus

81. Had the Investor-Plaintiffs known that the representations made in the
PPM were false, that the Defendants did not intend to issue them Convertible Debentures

and Warrants in exchange for their investments in Cactrus, or that the proceeds from the

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Offering would not be used strictly to enhance Cactrus’ business operations, they would
not have invested in the Offering.

82. As a direct and proximate result of the Defendants’ actions, the Investor-
Plaintiffs have been damaged in an amount not less than $520,000, to be more
specifically proven at trial.

83. Furthermore, Defendants acted in bad faith, in a willful, knowing,
malicious, oppressive and fraudulent manner, with the intent and purpose of advancing
their own gain at the expense and to the detriment of the Investor-Plaintiffs, and, as such,
Plaintiffs are entitled to punitive and exemplary damages from the Defendants

COUNT VIII - MISREPRESENTATION

84. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 83 as though fully set forth herein.

85. During the course of the Offering, Defendants Cactrus and Cote made
numerous misrepresentations and omissions of material fact to Plaintiffs, contrary to their
legal and equitable duties, including those duties imposed by trust or confidence

86. Specifically, Defendants Cactrus and Cote issued a defective and
misleading PPM, and offered and sold shares of Cactrus to the lnvestor-Plaintiffs.

87. The PPM contained various untrue statements of material fact, wrongful
omissions, and concealed and failed to disclose other material facts relating to the Cactrus
offering, including, without limitation, that Cactrus Would issue Convertible Debentures
and Warrants in exchange for the Plaintiffs’ investments in Cactrus and that the proceeds

from the offering would be used to enhance Cactrus’ business operations

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88. Defendants knew, or with reasonable care, should have known that these
misrepresentations and omissions of material fact were materially misleading and
inaccurate and did not provide the Investor-Plaintiffs with a full and accurate disclosure
of material information regarding the Offering.

89. Defendants made such misrepresentations and misleading statements for
the purpose of inducing Plaintiff-Investors to accept the Offering and deposit, wire,
and/or entrust their monies to Cactrus, which would later be withdrawn unlawfully,
illegally, and in violation of the agreements made to Plaintiffs

90. Defendants concealed and suppressed the falsity, materiality, and
wrongfulness from the Investor-Plaintiffs, with the intent to defraud, deceive, and injure

the lnvestor-Plaintiffs.

91. At the time that Defendants made such false representations and
misleading statements, the Investor-Plaintiffs were unaware and had no way of
discovering their falsity, materiality, and/or wrongfulness

92. The Investor-Plaintiffs believed the representations of the Defendants to
be true and justifiably relied on these representations in accepting the Offering and
signing the Subscription Agreements and in depositing, wiring, and/or entrusting their
monies to Cactrus

93. Had the Investor-Plaintiffs known that the representations made in the
PPM were false, that the Defendants did not intend to issue them Convertible Debentures

and Warrants in exchange for their investments in Cactrus, or that the proceeds from the

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offering would not be used to enhance Cactrus’ business operations, they would not have
invested in the Offering.

94. As a direct and proximate result of the Defendants’ actions, the Investor-
Plaintiffs have been damaged in an amount not less than $520,000, to be more
specifically proven at trial.

COUNT IX - UNJUST ENRICHMENT

95. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 94 as though fully set forth herein.

96. As set forth in detail herein, Defendants Cactrus and Cote have wrongfully
and without justification withheld Convertible Debentures and Warrants and/or

investment funds belonging to Plaintiffs, and have been unjustly enriched as a result

thereof.

97. lt is unconscionable, inequitable, and unjust for Cactrus and Cote to retain
these benefits, which have been obtained at Plaintiffs’ expense and to Plaintiffs’
detriment and which have been unlawfully used by Defendants for purposes which were
unintended, not agreed to and without Plaintiffs’ knowledge and/or permission.

98. As a direct and proximate result of the Defendants’ actions, the Investor-
Plaintiffs have been damaged in an amount not less than $520,000, to be more
specifically proven at trial.

COUNT X - MISAPPROPRIATION
99. Plaintiffs reallege and incorporate by reference the allegations contained

in Paragraphs 1 through 98 as though fully set forth herein.

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100. Defendants Cactrus and Cote were engaged in a scheme or enterprise
through which the Investor-Plaintiffs were induced to invest in the Cactrus offering and
to wire, transfer, and/or deposit monies for the benefit of Cactrus in exchange for
Convertible Debentures and Warrants

101. Defendants held themselves out and represented to the Investor-Plaintiffs
that they were accepting the investments for the purposes described in the PPM and
according to the terms of the PPM and Subscription Agreements.

102. In direct contravention to the representations promises, guarantees, duties
and/or obligations owed to the Investor-Plaintiffs, Defendants facilitated, allowed, and/or
failed to take the necessary and prudent steps to ensure that the terms of the PPM and
Subscription Agreements were met, that the required Convertible Debentures and
Warrants were issued, or that the Plaintiffs’ monies were returned.

103. In direct contravention to the representations promises, guarantees, duties
and/or obligations owed to Plaintiffs, Defendants misappropriated and/or allowed the
misappropriation of the Investor-Plaintiffs’ monies and/or allowed the Investor-Plaintiffs’
monies to be used for purposes which were inappropriate, unintended, not agreed to,
and/or without the Investor-Plaintiffs’ knowledge or permission

104. As a direct and proximate result of the Defendants’ actions, the Investor-
Plaintiffs have been damaged in an amount not less than $520,000, to be more

specifically proven at trial.

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COUNT XI - BREACH OF FIDUCIARY DUTY

105. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 104 as though fully set forth herein.

106. During the course of the Cactrus offering, Defendants Cactrus and Cote
made numerous misrepresentations and omissions of material fact to the Investor-
Plaintiffs, contrary to their legal and equitable duties, including those duties imposed by
trust or confidence

107. Specifically, Defendants Cactrus and Cote issued a defective and
misleading PPM, and offered and sold shares of Cactrus to the Investor-Plaintiffs.

108. The PPM contained various untrue statements of material fact, wrongful
omissions, and concealed and failed to disclose other material facts relating to the Cactrus
offering, including, Without limitation, that Cactrus would issue Convertible Debentures
and Warrants in exchange for the Plaintiffs’ investments in Cactrus and that the proceeds
from the Offering would be used to enhance Cactrus’ business operations

109. Defendants made such misrepresentations and misleading statements in
furtherance of their scheme and for the purpose of inducing Plaintiff-lnvestors to accept
the Offering and deposit, wire, and/or entrust their monies to Cactrus, which would later
be withdrawn unlawfully, illegally, and in violation of the agreements made with
Plaintiffs

110. The Investor-Plaintiffs believed the representations of the Defendants to

be true and justifiably relied on these representations and omissions in accepting the

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Offering and signing the Subscription Agreements and in depositing, wiring, and/or
entrusting their monies to Cactrus

111. Under the terms of the PPM and Subscription Agreements, Defendants
had an enhanced level of duty and obligations to Plaintiff-Investors, which required
Defendants take additional and independent actions to ensure that the terms of the PPM
and Subscription Agreements would be honored and or that Plaintiffs’ monies would be
retumed.

112. Defendants Cactrus and Cote breached this trust and/or fiduciary duty by,
among other things, misleading Plaintiffs about the Offering; failing to provide complete,
accurate, and truthful information about the Offering; failing to ensure the obligations
under the PPM and Subscription Agreements were fulfilled; failing ensure the
Convertible Debentures and Warrants were provided to Plaintiffs pursuant to the terms of
the PPM and Subscription Agreements; and failing to safeguard and return Plaintiffs’
investments, when Plaintiffs requested their return.

113. Had the Investor-Plaintiffs had true, accurate, and complete information
about the Offering and known that the representations made in the PPM were false, that
the Defendants did not intend to issue them Convertible Debentures and Warrants in
exchange for their investments in Cactrus, or that the proceeds from the Offering would
not be used to enhance Cactrus’ business operations, they would not have invested in the

Cactrus offering

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114. Defendants, who had superior knowledge of the Offering, acted in bad
faith in breaching their trust and fiduciary duty and in failing to disclose relevant and
material information to Plaintiffs

115. As a direct and proximate result of the Defendants’ actions, the Investor-
Plaintiffs have been damaged in an amount not less than $520,000, to be more
specifically proven at trial.

116. `Furthermore, Defendants acted in bad faith, in a willful, knowing,
malicious, oppressive and fraudulent manner, with the intent and purpose of advancing
their own gain at the expense and to the detriment of the Investor-Plaintiffs, and, as such,
Plaintiffs are entitled to punitive and exemplary damages from the Defendants

COUNT XII - VIOLATIONS OF FLORIDA SECURITY
AND INVESTOR PROTECTION ACT

117. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 116 as though fully set forth herein.

118. The Florida Security and Investor Protection Act (Chapter 517 of the
Florida Statutes) provides causes of action and remedies for, among other things,
misrepresentations and omissions in connection with the offer, sale, or purchase of an
“investment” or security.

119. Defendants offered and sold securities and investments as defined by the
Florida Security and Investor Protection Act

120. Under Florida Statute §517.301(2), an “investmen ” is defined as a
commitment of money or property principally induced by a representation that an

economic benefit may be derived from such commitment

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121. The Offering constituted an “investment,” as the Offering involved a
commitment of money that was induced by written and oral representations that an
economic benefit would be derived from such commitment, and by the written
representations and documents provided to the Investor-Plaintiffs that the “investment”
would be handled according to the terms and conditions of the PPM and Subscription
Agreements.

122. Defendants made numerous misrepresentations and omissions of material
fact to the Investor-Plaintiffs during the course of the Offering.

123. Specifically, the PPM contained various untrue statements of material fact,
wrongful omissions, and concealed and failed to disclose other material facts relating to
the Offering, including, without limitation, that Cactrus would issue Convertible
Debentures and Warrants in exchange for the Plaintiffs’ investments in Cactrus and that
the proceeds from the Offering would be used to enhance Cactrus’ business operations

124. Defendants made such misrepresentations and misleading statements in
furtherance of their scheme and for the purpose of inducing Plaintiff-Investors to accept
the Offering and deposit, wire, and/or entrust their monies to Cactrus, which would later
be withdrawn unlawfully, illegally, and in violation of the agreements made with
Plaintiffs

125. The Investor-Plaintiffs believed the representations of the Defendants to
be true and justifiably relied on these representations and omissions in accepting the
Offering and signing the Subscription Agreements and in depositing, wiring, and/or

entrusting their monies to Cactrus

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126. Defendants have failed to honor the terms of the PPM or Subscription
Agreements and have failed to return Plaintiffs’ investments

127. As a direct and proximate result of the actions and conduct of Defendants,
the lnvestor-Plaintiffs have suffered and will continue to suffer damages, including, but
not limited to the loss of their entire “investment.”

128. The Florida Statutes provide certain statutory remedies and damages,
including rescission, and/or reimbursement of actual losses, interest, reasonable
attomeys’ fees, and other damages, to which Plaintiffs are entitled.

COUNT XIII SPECIFIC PERFORMANCE

129. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 128 as though fully set forth herein.

130. At all times relevant hereto, a valid written contract existed between
Investor-Plaintiffs and Cactrus, giving Investor-Plaintiffs the right to Convertible
Debentures and Warrants in exchange for their investment in the Offering in accordance
with the terms of the PPM and the Subscription Agreements

131. Once Investor-Plaintiffs signed the Subscription Agreements and tendered
their investment funds, Defendants were obligated to issue the Convertible Debentures
and Warrants

132. The Investor-Plaintiffs fully performed their part of the Subscription
Agreements.

133. In violation of their promises and obligations under the PPM and the

Subscription Agreements, Defendants wrongfully refused and continue to refuse to issue

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the Convertible Debentures and Warrants to the Investor-Plaintiffs and have repudiated
the PPM and the Subscription Agreements as more fully alleged herein.

134. The Convertible Debentures and Warrants at issue reflect an ownership
interest in Cactrus, since the holders of these debentures and warrants have the option to
convert the outstanding debentures into 51% of outstanding shares of Cactrus stock,
under the terms of the Convertible Debentures and Warrants (An exemplar Convertible
Debenture and Warrant is attached hereto as Exhibit C.)

135. The Investor-Plaintiffs have no plain, speedy, or adequate remedy in the
ordinary course of law, and damages, if awarded, cannot be properly ascertained and
would be inadequate to compensate plaintiffs for the detriment of Defendants’ breach.

136. The Investor-Plaintiffs have been irreparably harmed by, inter alia, the
Defendants’ outright refusal to issue the Convertible Debentures and Warrants and/or
otherwise cure its breaches of the PPM and Subscription Agreements-an injury for
which no adequate remedy at law exists

137. Accordingly, the Investor-Plaintiffs request an order from this Court
requiring Defendants to issue the Convertible Debentures and Warrants to the Investor-
Plaintiffs as required by the PPM and the Subscription Agreements

COUNT XIV- ACCOUNTING/CONSTRUCTIVE TRUST

138. Plaintiffs reallege and incorporate by reference the allegations contained

in Paragraphs 1 through 137 as though fully set forth herein.

139. Defendants owe various contractual and fiduciary obligations to the

Investor-Plaintiffs as set forth herein.

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140. Defendants presently hold proceeds, funds and/or properties derived from
Plaintiffs’ investments in the Offering, as well as documentation pertaining to same, all
of Which rightfully belongs to the Investor-Plaintiffs.

141. Upon information and belief, Defendants have received, and continue to
receive, benefits and profits rightfully belonging to the Investor-Plaintiffs which have
been, and are, derived from Defendants’ wrongful conduct, but Plaintiffs are presently
unable to fully ascertain the extent of same.

142. By reason of the foregoing, Plaintiffs are entitled to, inter alia: (a) an
accounting of all Cactrus funds, properties and other assets which have been within
Defendants’ possession or control at any time since August 2007, including without
limitation, all benefits and profits derived there from; (b) the imposition of a constructive
trust and/or equitable lien thereon in favor of the Investor-Plaintiffs, with an order for
conveyance to each Investor-Plaintiffs for his or its rightful share thereof, and (c) all
documentation and records in the possession or control of Defendants, or anyone acting
in concert with them, which pertain to such funds, properties and other assets, and all
benefits and profits derived there from, and an order for conveyance thereof to the
Investor-Plaintiffs.

143. By reason of the wrongful manner by Which Defendants obtained, and
continue to obtain, possession of funds, properties and assets which rightfully belong to
the Investor-Plaintiffs, Defendants are involuntary trustees holding such funds, properties

and assets, and any benefits and profits derived there from, in constructive trust for the

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use and benefit of the Investor-Plaintiffs, and with the duty to re-convey the same to
them.

144. The Investor-Plaintiffs have no adequate remedy at law, and the
imposition of a constructive trust or, altematively, an equitable lien, is required to avoid
the perpetration of Defendants’ wrongful misconduct to prevent the unjust enrichment of
them, and to avoid irreparable injury to the Investor-Plaintiffs.

145. Altematively, the Court should impress such funds, properties and assets,
which rightfully belong to the lnvestor-Plaintiffs, as well as any benefits and profits

derived there from, with an equitable lien in favor of the Investor-Plaintiffs.

DEMAND FOR JURY TRIAL

Plaintiffs hereby demand a trial by jury on all issues of fact in this matter.

WHEREFORE, Plaintiffs pray that this Court enter judgment against Defendants
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(1) For the amounts paid for the subject securities, together with interest
accruing thereon at the legal rate;

(2) For actual damages in a sum to be determined according to proof, but in
no event less than the sum of $520,000.00, together with interest accruing thereon at the
legal rate;

(3) For punitive and exemplary damages in a sum to be determined by the
trier of fact herein;

(4) For specific performance as requested herein;

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trial;

(5) For an accounting, imposition of constructive trust and/or equitable lien;

(6) F or such other incidental and consequential damages as may be proven at

(7) For costs, interest, and legal expenses allowed by law; and

(8) such other and further relief as the Court shall deem just and proper.

a”/
Dated this / November, 2008.

LOCKE LORD BISSELL & LIDDELL LLP

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Elizal;;e_ih J. Caifrpbell - Trial Counsel
Florida Bar No. 0027916
ecampbell@lockelora'. com

The Proscenium, Suite 1900

1170 Peachtree Street, NE

Atlanta, Georgia 30309

Telephone: 404.870.4600

Facsimile: 404.872.5547

Attorneysfor Plaintiffs

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